
TAM Medical Supply Corp., as Assignee of Dorian Wood, Appellant, 
againstAmerican Transit Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Jodi Orlow, J.), entered December 20, 2013. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, by order entered December 20, 2013, the Civil Court denied plaintiff's motion for summary judgment, and granted defendant's cross motion for summary judgment dismissing the complaint on the ground that the action was premature because plaintiff had failed to provide requested verification.
For the reasons stated in TAM Med. Supply Corp., as Assignee of Shameca Dudley v National Liab. &amp; Fire Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op _____ [appeal No. 2014-269 Q C], decided herewith), the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 11, 2016










